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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT sEATTLE
BOMBARDIER‘INC., _ CASE NO. 2:18-cv-01543-JLR
Plamtlff, STIPULATED
PROTECTIVE ORDER
V.
MITSUBISHI AIRCRAFT
CORPORATION, l\/lITSUBlSHl
AIRCRAFT CORPORATION

AMERICA, AEROSPACE TESTING
`ENGINEERING & CERTIFICATION
lNC., l\/[ICHEL KORWIN-
SZYMANOWSKI, LAURUS BASSON,
MARC-ANTOINE DELARCHE, ClNDY
DORNEVAL, KElTl-l AYR`E, AND
JOHN AND/OR JANE DOES 1-88,,

Defendants.

 

 

 

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private information for Which special protection may be Warranted. Accordingly, the parties
hereby stipulate to and petition the court to enter the follovv'ing Stipulated Protective Order. The
parties acknowledge that this agreement is consistent with LCR 26(0). lt does not confer blanket
protection on all disclosures or responses to discovery, the protection it affords from public

disclosure and use extends only to the limited information or items that are entitled to

PURPOSES AND Lll\/IITATIONS

Discovery in this action is likely to involve production of contidential, proprietary, or

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confidential treatment under the applicable legal principles, and it does not presumptively entitle
parties to file confidential information under seal. l

Pursuant to Local Civil Rule 26(0)(2), the parties began with the Di.strict’s Model
Protective Order and have identified departures from the model in redline, attached hereto as
Exhibit 1. l
2. “CONFIDENTIAL” AND "ATTORNEYS' EYES ONLY" MATERIAL

For purposes of this protective order,1 “CONFIDENTIAL” material shall include the
following documents and tangible things produced or otherwise exchanged: formal and informal
standard operating procedures (“SOPS”) and related forms, best practices guidelines, vendor
contracts, price quotations, supplier lists, purchase orders, other sales documents, proprietary
engineering or design documents, internal communications and memoranda pertaining to
strategic business decisions, communications with regulatory authorities conducted with the
expectation of privacy, summaries of such communications with regulatory authorities, and
documents marked internally at the time of their creation or distribution as confidential or
proprietary. Confidential material may be designated as “ATTORNEYS’ EYES ONLY” (AEO)
if the designating party (including a non-party) reasonably believes the information to be highly
competitively sensitive, because it contains trade secrets, proprietary design specifications,
proprietary product specifications current business or strategic plans, proprietary cost and
pricing information, or other information of direct competitive si gnificance.
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The protections conferred by this agreement cover not only CONFIDENTIAL and/or
ATTORNEYS’ EYES ONLY material (as defined above), but also (1) any information copied or
extracted from CONFIDENTIAL and/or ATTORNEYS’ EYES ONLY material; (2) all copies,
excerpts, summaries, or compilations cf CONFIDENTIAL and/or ATTORNEYS’ EYES ONLY

 

l Nothing herein constitutes an admission that the materials identified herein as Confidential or
Attorney’s Eyes Only are in fact confidential and/or trade secret information Any party may
therefore challenge the designation of any material designated under this`Protective Order,
regardless of whether it fits within the definition of Section 2 of this Protective Order.

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ordered by the court or permitted in Writing by the designating party, a receiving party may

 

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material; and (3) any testimony, conversations, or presentations by parties or their counsel that
might reveal CONFlDENTlAL and/or ATTORNEYS’ EYES ONLY material.

The protections conferred by this agreement do not cover information that is in the public
domain or becomes part of the public domain through trial or other proper means.2
4. ACCESS TO AND USE OF CONFIDENTIAL l\/IATERIAL

4.1 Basic Principles. A receiving party may use confidential material that is disclosed
or produced by another party or by a non-party in connection with this case only for prosecuting,
defending, or attempting to settle this litigation. Confidential material may be disclosed only to
the categories of persons and under the conditions described in this agreement Conf`idential
material must be stored and maintained by a receiving party at a location and in a secure manner
that ensures that access is limited to the persons authorized under this agreement

4.2 Disclosure of “CONFIDENTlAL” information or Items. Unless otherwise

disclose any confidential material only to:

(a) the receiving party’s counsel of record in this action, as well as employees
of counsel to whom it is reasonably necessary to disclose the information for this litigation;

(b)' the officers, directors, and employees (including in house counsel) of the
receiving party to whom disclosure is reasonably necessary for this litigation, unless the material
produced is for Attorney’s Eyes Only and is so designated;

(c) experts and consultants to whom disclosure is reasonably necessary for
this litigation and Who have signed the “Acknowledgment and Agreement to Be `Bound” (Exhibit
A);

(d) the court, court perso'nnel, and court reporters and their staff;

(e) copy or imaging services retained by counsel to assist in the duplication of

confidential material, provided that counsel for the party retaining the copy or imaging service

 

2 This language is not intended to restrict protections properly applicable to publicly available
information that constitutes part of a party’s purported trade secrets

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instructs the service not to disclose any confidential material to third parties and to immediately
return all originals and copies of any confidential material;

(f) during their depositions, witnesses in the action to whom disclosure is
reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”
(Exhibit A), unless otherwise agreed by the designating party or ordered by the court. Pages of
transcribed deposition testimony or exhibits to depositions that reveal confidential material must
be separately bound by the court reporter and may not be disclosed to anyone except as permitted
under this agreement;

(g) the author or recipient of a document containing the information or a

custodian or other person who otherwise possessed or knew the information; and

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(h)EPLA-INEH-FF-'-S-PRGPQ~SAL+ for material designated as “ATTORNEYS’
EYES ONLY,” in addition to the entities identified under paragraph 4. 2(a), (c)- (g), supra up to

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four designated in-house counsel of the receiving Party, but only for information or items
designated “ATTORNEYS’ EYES ONLY” that has been filed with the Court under seal or is the
subject of a meet and confer under LCR 5(g), and where such designated in house counsel (l)
have no involvement in competitive decision-making, (2) have signed the “Acknowledgrnent and
Agreement to Be Bound” found attached hereto as Exhibit A, (3) have no involvement in the
regulatory certification processes at issue in this dispute, (4) have no professional or other work-
related obligations owed to any other named corporate defendant in this litigation that has yet to
appear in this litigation, and (5) as to whom the procedures set forth in paragraph 4.4(a)(l),
below, have been followed.

(i) specific materials that any individuals are accused of misappropriating, if
designated as “ATTORNEYS’ EYES ONLY,” may also be disclosed to those individuals (and
their counsel), but only after signing the “Acl<nowledgment and Agreement to Be Bound”
(Exhibit A) prior to the disclosure, and subject to the further restrictions identified
herein. Access for such individuals shall be limited to viewing only those “ATTORNEYS’
EYES ONLY” materials that each particular individual is alleged to have misappropriated At
no time will any individual defendant maintain in his or her possession, custody, or control any
copy of any document marked as “ATTORNEYS’ EYES ONLY.”

4.3 Filing Confid.ential i\/laterial. Before filing confidential material or referencing
such material in court filings, the filing party shall confer with the designating party, in
accordance with Local Civil Rule 5(g)(3)(A), to determine whether the designating party will
remove the confidential designation, whether the document can be redacted, or whether a motion
to seal or stipulation and proposed order is warranted During the meet and confer process, the
designating party must identify the basis for sealing the specific confidential information at issue,
and the filing party shall include this basis in its motion to seal, along with any objection to
sealing the information at issue. Local Civil Rule S(g) sets forth the procedures that must be
followed and the standards that will be applied when a party seeks permission from the court to

file material under seal. A party who seeks to maintain the confidentiality of its information

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must satisfy the requirements of Local Civil Rule 5(g)(3)(B), even if it is not the party filing the
motion to seal. Failure to satisfy this requirement will result in the motion to seal being deniedJ
in accordance with the strong presumption of public access to the Court’s files.

4.4 Procedures for Approving or Ob`|ecting to Disclosure of “ATTORNEYS’ EYES
ONLY” l\/Iaterial to Designated In-l-louse Counsel or Experts.

(a)(l) Unless otherwise ordered by the court or agreed to in writing by the
designating party, a party that seeks to disclose to designated in house counsel any information
or item that has been designated “ATTORNEYS’ EYES ONLY” first must make a written
request to the designating party that (l) sets forth the full name of the designated in house
counsel and the city and state of his or her residence, and (2) describes the designated in house
counsel’s current and reasonably foreseeable future primary job duties and responsibilities in
sufficient detail to determine if in house counsel is involved, or may become involved, in any
competitive decision-making

(a)(Z) Unless otherwise ordered by the court or agreed to in writing by the
designating party, a-party that seeks to disclose to an expert (as defined in this Order) any
information or item that has been designated “ATTORNEYS’ EYES ONLY” pursuant to
paragraph 4.2(0) first must make a written request to the designating party that (l) identifies the
general categories of “ATTORNEYS’ EYES ONLY” information that the receiving party seeks
permission to disclose to the expert, (2) sets forth the full name of the expert and the city and
state of his or her primary residence, (3) attaches a copy of the expert’s current resume, (4)
identifies the expert’s current employer(s), and (5) identifies each person or entity from whom
the expert has received compensation or funding for work in his or her areas of expertise or to
whom the expert has provided professional services, including in connection with a litigation, at
any time during the preceding five years, unless providing such information would be prohibited
by a confidentiality obligation to a third-party. (b) A party that makes a request and provides
the information specified in the preceding respective paragraphs may disclose the Subject

confidential material to the identified designated in-house counsel or expert unless, within 14

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days of delivering the request, the Party receives a written objection from the designating party
that sets forth in detail the grounds on which the objection is based, including by describing a
reasonable ground for concern that the named individual will not or cannot comply with the
Protective Order. Upon the expiration of the fourteen-day period or upon notification by the
designating party that they have no objection to the disclosure, whichever occurs earliest,
disclosure may be made.

(c) A Party that receives a timely written objection must meet and confer with
the designating party (through direct voice to voice dialogue, in person if practicable) to try to
resolve the matter by agreement within seven days of the written objection. lf no agreement is
reached, the Party seeking to make the disclosure to designated in house counsel or the expert
may file a motion as provided in LCR 7 (and in compliance with LCR 5(g), if applicable)
seeking permission from the court to do so. Any such motion must describe the circumstances
with specificity; and set forth in detail the reasons why the disclosure to designated in house
counsel or the expert is reasonably necessary ln addition, any such motion must be accompanied
by a certification describing the parties’ efforts to resolve the matter by agreement (i.e., the
extent and the content of the meet and confer discussions) and setting forth the reasons advanced
by the designating party for its refusal to approve the disclosure In any such proceeding, the
party opposing disclosure to designated in house counsel or the expert shall bear the burden of
proving that the risk of harm that the disclosure would entail (under any reasonable safeguards)
outweighs the receiving party’sneed to disclose the"‘ATTORNEYS’ EYES ONLY” material to
its designated in house counsel or expert Objections not made in good faith and /or made
without arreasonable basis may result in sanctions lf resolution of an objection under this
section impacts a filing deadline, the objecting party agrees that it will not oppose a reasonable

extension of that deadline that accounts for the delay caused by the obj ection.

 

 

 

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5. DESIGNATING PROTECTED MATERIAL

5.1 Exercise of Restraint and Care in Designating Material for Protection. Each party
or non-party that designates information or items for protection under this agreement must take
care to limit any such designation to specific material that qualifies under the appropriate
standards The designating party must designate for protection only those parts of material,
documents, items, or oral or written communications that qualify, so that other portions of the
material, documents, items, or communications for which protection is not warranted are not
swept unjustifiably within the ambit of this agreement

l\/lass, indiscriminate, or routinized designations are prohibited Designations that are
shown to be clearly unjustified or that have been made for an improper purpose (e.g., to
unnecessarily encumber or delay the case development process or to impose unnecessary
expenses and burdens on other parties) expose the designating party to sanctions

lf it comes to a designating party’s attention that information or items that it designated
for protection do not qualify for protection, the designating party must promptly notify all other
parties that it is withdrawing the mistaken designation

5.2 Manner and Timing of Designations. Except -as otherwise provided in this
agreement (see, é.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or
ordered, disclosure or discovery material that qualifies for protection under this agreement must
be clearly so designated before or when the material is disclosed or prod'uced.

(a) information in documentary form: (e.g., paper or electronic documents
and deposition exhibits, but excluding transcripts of depositions or other pretrial or trial
proceedings), the designating party must affix the word “CONFIDENTIAL” or “ATTORNEYS’
EYES ONLY” to each page that contains confidential material. If only a portion or portions of
the material on a page qualifies for protection, the producing party also must clearly identify the
protected portion(s) (e.g., by making appropriate markings in the margins).

A party or non-party that makes original documents or materials available for

inspection need not designate them for protection until after the inspecting party has indicated

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which material it would like copied and produced. During the inspection and before the
designation, all of the material made available for inspection shall be deemed “ATTORNEYS’
EYES ONLY.” After the inspecting party has identified the documents it wants copied and
produced, the producing party must determine which documents qualify for protection under this
order. Then, before producing the specified docu'ments, the producing party must affix the
appropriate legend (“CONFIDENTIAL"` or “ATTORNEYS’ EYES ONLY”) to each page that
contains confidential material.

_ (b) Testimonv given in deposition or in other pretrial proceedings: the parties
and any participating non-parties must identify on the record, during the deposition or other
pretrial proceeding, all protected testimony, without prejudice to their right to so designate other
testimony after reviewing the transcript Any party or non-party may, within fifteen days after
receiving the transcript of the deposition or other pretrial proceeding, designate portions of the
transcript, or exhibits thereto, as Confidential. lf a party or non-party desires to protect
Confidential information at trial, the issue should be addressed during the pre-trial conference

Parties shall give the other parties notice if they reasonably expect a deposition,
hearing or other proceeding involving testimony to disclose Confidential material so that the
other parties can ensure that only authorized individuals who have signed the “Acknowledgment
and Agreement to Be Bound” (Exhibit A) are present at those proceedings while the Confidential
information is being discussed The use of a document as an exhibit at a deposition shall not in
any way affect its designation as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY.”

Transcripts containing Confidential material shall have an obvious legend on the
title page that the transcript contains Confidential material and the title page shall be followed by
a list of all pages (including line numbers as appropriate) that have been designated as
Confidential material and the level of protection being asserted by the designating party. The
designating party shall inform the court reporter of these requirements Any transcript that is
prepared before the expiration of a ten-day period for designation shall be treated during that

period as if it had been designated “ATTORNEYS’ EYES ONLY” -in its entirety unless

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otherwise agreed After the expiration of that period, the transcript shall be treated only as
actually designated

(c) Other tangible items: the producing party must affix in a prominent place
on the exterior of the container or containers in which the information vor item is stored the word
“CONFIDENTIAL.” If only a portion or portions of the information or item warrant protection,
the producing party, to the extent practicable, shall identify the protected portion(s).

5.3 Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to
designate qualified information or items does not, standing alone, waive the designating party’s
right to secure protection under this agreement for such material. Upon timely correction of a
designation, the receiving party must make reasonable efforts to ensure that the material is
treated in accordance`with the provisions of this agreement
6. CHALLENGING CONFIDENTIALITY DESIGNATIONS

6.1 Timing of Challenges. Any party or non-party may challenge a designation of
confidentiality at any time. Unless a prompt challenge to a designating party’s confidentiality
designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic
burdens, or a significant disruption or delay of the litigation, a party does not waive its right to _
challenge a confidentiality designation by electing not to mount a challenge promptly after the
original designation is disclosedl

6.2 l\/[eet and Confer. The parties must make every attempt to resolve any dispute
regarding confidential designations without court involvement Any motion regarding
confidential designations or for a protective order must include a certification, in the motion or in
a declaration or affidavit, that the movant has engaged in a good faith meet and confer
conference with other affected parties in an effort to'resolve the dispute without court action. The
certification must list the date, manner, and participants to the conference A good faith effort to
confer requires a face-to-face meeting or a telephone conference

6.3 Judicial Intervention. 1f the parties cannot resolve a challenge without court

intervention, the designating party may file and serve a motion to retain the confidentiality

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designation under Local Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if
applicable). The burden of persuasion in any such motion shall be on the designating party.
Frivolous challenges and those made for an improper purpose (e.g., to harass or impose
unnecessary expenses and burdens on other parties) may expose the challenging party to
sanctions. All parties shall continue to maintain the material in question as confidential or AEO
until the court rules on the challenge.
7. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED fN OTHER
LITIGATI()N

If a party is served with a subpoena or a court order issued in other litigation that compels
disclosure of any information or items designated in this action as “CONFIDENTIAL” or
“ATTORNEYS’ EYES ONLY,” that party must:

(a) promptly notify the designating party in writing and include a copy of the
subpoena or court order;

(b) promptly notify in writing the party who caused the subpoena or order to
issue in the other litigation that some or all of the material covered by the subpoena or order is
subject to this agreement Such notification shall include a copy of this agreement; and

(c) cooperate with respect to all reasonable procedures sought to be pursued
by the designating party whose confidential material may be affected
8. A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO B'E PRODUCED IN THIS
LITIGATION

(a) The terms of this order are applicable to information produced by a non-
party in this action and designated as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” by
the non-party. Such information produced by non-parties in connection with this litigation is
protected by the remedies and relief provided by this order. Nothing in these provisions should
be construed as prohibiting a non-party from seeking additional protections

(b) 1n the event that a party has a reasonable basis to contend that material

produced by a non-party includes material that a party considers to be at least Confidential

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material of that party, it may designate that portion of the non-party's production under the terms

of this Protective Order.

9. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

lf a receiving party learns that', by inadvertence or otherwise, it has disclosed confidential
material to any person or in any circumstance not authorized under this agreement, the receiving
party must immediately (a) notify in writing the designating party of the unauthorized
disclosures, (b) use its best efforts to retrieve all unauthorized copies of the protected material,
(c) inform the person or persons to whom unauthorized disclosures were made of all the terms of
this agreement, and (d) request that such person or persons execute the “Acknowledgment and
Agreement to Be Bound” that is attached hereto as Exhibit A.
10. TNADVERTENT PRODUCTI`ON OF PRI.VILEGED OR OTHERWlSE PROTECTED
MATERIAL

When a producing party gives notice to receiving parties that certain inadvertently
produced material is subject to a claim of privilege or other protection, the obligations of the
receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This
provision is not intended to modify whatever procedure may be established in an e-discovery
order or agreement that provides for production without prior privilege review. The parties
agree to the entry of a non-waiver order under Fed. R. Evid. 502(d) as set forth herein
11. NON TERMINATlON AND RETURN OF DOCUMENTS

Within 60 days after the termination of this action, including all appeals, each receiving
party must return all confidential material to the producing party, including all copies, extracts »
and summaries thereof. Alternatively, the parties may agree upon appropriate methods of
destruction

Notwithstanding this provision, counsel are entitled to retain one archival copy of all

documents filed with the court, trial, deposition, and hearing transcripts correspondence,

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deposition and trial exhibits, expert reports, attorney work product, and consultant and expert
work product, even if such materials contain confidential material.
The confidentiality obligations imposed by this agreement shall remain in effect until a

designating party agrees otherwise in writing or a court orders otherwise

IT IS SO STIPULATED, THROUGI-I COUNSEL OF RECORD.

¢s.@@, orr #\691 Q\N(Z_
) Attorneys for Plaintiff

DATED:

 

 

DATED:

 

 

- Attorneys for Defendant

PURSUANT TO STIPULATION, IT IS SO ORDERED

lT lS FURTHER ORDERED that pursuant to F ed R. Evid. 502(d), the production of any
documents in this proceeding shall not, for the purposes of this proceeding or any other federal
or state proceeding, constitute a waiver by the producing party of any privilege applicable to
those documents, including the attorney-client privilege, attorney work-product protection, or

any other privilege or protection recognized by law.

DATEDI 5 iQ\mena.u @~Oiol y l M
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United States District Court Judge

 

 

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EXHlBlT A
ACKNOWLEDGMENT AND AGRE'El\/IENT TO BE BOUND

1, [print or type full name], of

 

[print or type full address], declare under penalty of

 

 

perjury that 1 have read in its entirety and understand the Stipulated Protective Order that was
issued by the United States District Court for the Western District of Washington on ___~ in the
case of Bombam’z'er v. Mirsubz'shi Ai)"craft Corp., et al., Case No.- 2:18-cv-01543-JLR . 1 agree to
comply with and to be bound by all the terms of this Stipulated Protective Order and 1
understand and acknowledge that failure to so comply could expose me to sanctions and
punishment in the nature of contempt l solemnly promise that 1 will not disclose in any manner
any information or item that is subject to this Stipulated Protective Order to any personor entity
except in strict compliance with the provisions of this Order.

l further agree to submit to the jurisdiction of the United States District Court for the
Western District of Washington for the purpose of enforcing the terms of this Stipulated
Protective Order, even if such enforcement proceedings occur after termination of this action

Date:

 

City and State where sworn and signed:

 

Printed name:

S ignature:

 

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